                 SIXTH DISTRICT COURT OF APPEAL
                        STATE OF FLORIDA
                       _____________________________

                           Case No. 6D2023-1466
                  Lower Tribunal No. 2021-CF-015601-A-OR
                     _____________________________

                            DAMIAN ANDRE CLARKE,

                                   Appellant,

                                        v.

                               STATE OF FLORIDA,

                                    Appellee.

                       _____________________________

                Appeal from the Circuit Court for Orange County.
                            Renee A. Roche, Judge.

                                August 27, 2024

PER CURIAM.

      AFFIRMED.

STARGEL and SMITH, JJ., and LAMBERT, B.D., Associate Judge, concur.


Howard L. “Rex” Dimmig, II, Public Defender, and Ali L. Hansen, Special Assistant
Public Defender, Bartow, for Appellant.

Ashley Moody, Attorney General, Tallahassee, and Richard A. Pallas, Jr., Assistant
Attorney General, Daytona Beach, for Appellee.


 NOT FINAL UNTIL TIME EXPIRES TO FILE MOTION FOR REHEARING
          AND DISPOSITION THEREOF IF TIMELY FILED
